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1N THE UNITED sTATEs DlsrRlCT COURT
FcR THE WESTERN DIsTRiCT oF TENNESSEE 115 ppg 1 g 531 1111 35
WESTERN DIVISIoN

 

 

UNITED STATES OF AMERICA

V. 05-20257-B

PAMELA JOYCE CAMPBELL

 

ORDER ON ARRAIGNMENT

This cause came to be heard on A‘N fig Qt, MZS , the United States Attorney
for this district gappeared on behalf of the gov ent, and e defendant appeared in person and With

counsel: / 7,¢/%0 '
NAMEM `DV/jMM¢// d\ whoisRetained/Appoimed.

 

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The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U. S. Marshal.

57/7»,,,,, Z¢_

UNITED STATES MAGISTRATE .TUDGE

CHARGES: 18:1708;
U. S. Attomey assigned to Case: V. Oliver

Age:

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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PDA

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Honorable J. Breen
US DISTRICT COURT

